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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                              § Chapter 7
                                                    §
ALEXANDER E. JONES,                                 § Case No. 22-33553 (CML)
                                                    §
         Debtor                                     §

                      NOTICE OF APPEARANCE AND REQUEST FOR
                         SERVICE OF NOTICE AND PLEADINGS

         The Texas Comptroller of Public Accounts, Revenue Accounting Division (the "Texas

Comptroller") hereby gives notice of its appearance in the case pursuant to Bankruptcy Rule 9010

by and through the undersigned counsel:

                                        Kimberly A. Walsh
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                                  Texas Attorney General's Office
                                 Bankruptcy & Collections Division
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         The Texas Comptroller respectfully requests through its said counsel that it be served with

copies of all notices and other documents issued by the Clerk of the Court and all other pleadings

and notices to parties in interest filed by Debtor, the Trustee, or any other interested parties in this

case, including disclosure statements and/or schedules, in accordance with Bankruptcy Rules

2002, 3017, and 9013 and any other Bankruptcy Rules or local rules governing notice.
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                       Respectfully submitted,

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                       /s/ Kimberly A. Walsh
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                       ATTORNEYS FOR THE TEXAS COMPTROLLER
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                               CERTIFICATE OF SERVICE

       I certify that on November 19, 2024, a true copy of the foregoing was served by the method
and on the following parties as indicated:

By First Class Mail:

Alexander E. Jones
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By Electronic Mean as listed on the Court’s ECF Noticing System:

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